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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:16CR76

       vs.
                                                                       ORDER
KEITH PHELPS,

                      Defendant.


       This matter is before the Court on the defendant’s motion for a copy of his Docket Sheet,
Indictment and Plea Agreement (Filing No. 210), and to waive the fees associated with the costs
of the copies. The Court sentenced the defendant on October 17, 2016 (Filing No. 170 and 174),
and the time to file an appeal has expired. At this time, the defendant has no motions or cases
pending before this court, and the defendant makes no showing as to why he needs these copies.
Accordingly, the Court will deny the motion.


       IT IS ORDERED:
       1.      That the defendant’s MOTION for Copies [210] is denied.
       2.      The Clerk of the Court is directed to mail a copy of this order to the defendant at
his last known address.
       3.      The defendant is free to contact the Clerk’s Office for the U.S. District Court to
inquire as to the cost of copies in this matter. Copies will not be provided without pre-payment.




       Dated this 14th day of December, 2016.

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
